Case 6:18-cv-01597-RBD-LRH Document 51 Filed 04/16/19 Page 1 of 6 PageID 282




                              UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

   NANDALALL RAMESHWAR, ARTHUR
   HOOKS HUMPHREY, CONSUELA
   RENAE HOOKS and DOROTHY LISA
   HUMPHREY,

                           Plaintiffs,

   v.                                                              Case No: 6:18-cv-1597-Orl-37LRH

   MINNESOTA LIFE INSURANCE
   COMPANY,

                           Defendant.



                                                   ORDER
                                 (AND DIRECTION TO CLERK OF COURT)

           This diversity jurisdiction breach of insurance contract case originated in this Court with the

   filing of a Notice of Removal on September 25, 2018. Doc. Nos. 1–2. Since November 20, 2018,

   counsel for Plaintiffs, George Ollinger, has filed a series of documents stating that he no longer

   represents Plaintiffs, that a conflict has developed between himself and Plaintiffs such that they can

   no longer communicate or work together, and that he has advised Plaintiffs on several occasions to

   retain new representation. See Doc. Nos. 30–32, 35, 38, 39. Nevertheless, Attorney Ollinger has

   never filed a motion or notice of withdrawal as required by Local Rule 2.03(b). Instead, Attorney

   Ollinger has requested leave to file an amended complaint to substitute the unidentified personal

   representative for the Estate of Claudia Rameshwar as the named plaintiff in this case. Doc. No.

   48.1


           1
            Attorney Ollinger contends that under Florida’s Wrongful Death Act, Fla. Stat. § 768.20, the proper
   named plaintiff is the estate of the decedent, Claudia Rameshwar. Doc. Nos. 35, 38, 48. At no time has
Case 6:18-cv-01597-RBD-LRH Document 51 Filed 04/16/19 Page 2 of 6 PageID 283




           Based on a review of Attorney Ollinger’s filings, I set this case for a status conference for

   April 15, 2019. Doc. No. 46. In the order setting the status conference, I directed Attorney

   Ollinger to cause a copy of the order to be delivered to each named Plaintiff. Id. I further directed

   Attorney Ollinger to file a notice of compliance with the Court detailing the manner in which such

   delivery was completed on or before April 12, 2019, at 12:00 p.m. Id.2 Attorney Ollinger failed

   to comply with my directives and, accordingly, I issued an Order to Show Cause requiring Attorney

   Ollinger to either file the notice of compliance or show cause in writing why sanctions should not

   be levied. Doc. No. 49. Attorney Ollinger was given a response deadline of 9:00 a.m. on April

   15, 2019. Id. Attorney Ollinger also failed to comply with the Order to Show Cause.

           I conducted the status conference on April 15, 2019 at 1:00 p.m. as scheduled. Present at

   the hearing were Attorney Ollinger, named Plaintiffs Nandalall Rameshwar, Arthur Hooks

   Humphrey, Consuela Renae Hooks, and Dorothy Lisa Humphrey, and counsel for Defendant Daniel

   R. Lazaro, Esq. Attorney Ollinger had no explanation for his failure to comply with my prior

   orders—rather he alternatively stated that he did not receive my orders (a representation belied by

   the fact of his appearance at the status conference) and that he had issues with his email due to

   moving. I stated on the record that I found Attorney Ollinger’s explanations to fall far below the

   standard of excusable neglect and that I would take the issue of appropriate sanctions under

   advisement.3




   Attorney Ollinger explained how Florida’s Wrongful Death Act applies to a breach of contract claim.
           2
             The status conference was originally scheduled for 2:00 p.m. on April 15th. I subsequently
   entered an amended order changing the time to 1:00 p.m. Doc. Nos. 46, 47. Both orders contained the
   same directions to Attorney Ollinger.
           3
            In fact, Plaintiffs represented that they learned of the status conference from their review of the
   court docket on pacer.gov.


                                                      -2-
Case 6:18-cv-01597-RBD-LRH Document 51 Filed 04/16/19 Page 3 of 6 PageID 284




           Turning to the issue of representation of Plaintiffs, upon questioning from the Court,

   Attorney Ollinger stated that he no longer represents the named Plaintiffs and has not represented

   them for several months. Rather, he stated that he represents the Estate, which is not a party to this

   case.4 I then asked each individual Plaintiff whether he or she wanted Attorney Ollinger to continue

   in his representation, and each of the individual Plaintiffs responded “no.” Therefore, I treated

   Attorney Ollinger’s statement as an oral motion to withdraw as counsel of record for the named

   Plaintiffs, which was granted ore tenus under Local Rule 2.03(b). Based on the withdrawal of

   Attorney Ollinger from this case, I also denied Plaintiff’s Motion to Replace Above-Named

   Plaintiffs with Personal Representative (Doc. No. 48) as moot.                 These rulings are hereby

   memorialized by this Order.

           In accordance with the withdrawal of Attorney Ollinger as well as the statements of the

   named Plaintiffs at the status conference, going forward Plaintiffs will be responsible for

   representing themselves as individuals in this lawsuit unless and until counsel enters an appearance

   on their behalf. This requires the individual Plaintiffs to review the docket in this case and abide

   by all orders and deadlines set forth therein. It also requires that Plaintiffs familiarize themselves

   with and abide by the Federal Rules of Civil Procedure and the Local Rules of this Court. Plaintiffs

   may view the docket in this case at any United States District Courthouse in the Middle District of

   Florida. Alternatively, they may create or use an account at pacer.gov to view the docket from any

   personal computer.

           Because Plaintiffs are responsible for representing themselves unless and until new counsel

   enters an appearance on their behalf, the Court directs their attention to the Court’s website,



           4
            The Estate was originally a named plaintiff, however the Estate was terminated as a party when
   Attorney Ollinger filed the first and second amended complaints, both of which list the individual Plaintiffs
   alone. Doc. Nos. 15, 17.


                                                       -3-
Case 6:18-cv-01597-RBD-LRH Document 51 Filed 04/16/19 Page 4 of 6 PageID 285




   http://www.flmd.uscourts.gov. On the Court’s homepage, Plaintiffs can find basic information and

   resources for parties who are proceeding without a lawyer in a civil case by clicking on the “For

   litigants” tab and then clicking on “Litigants without Lawyers.”

          Given the clear conflicts between Attorney Ollinger and the individual Plaintiffs, and in

   particular Attorney Ollinger’s inability to contact the individual Plaintiffs to notify them of their

   required attendance at the status conference, the Court has serious concerns whether Attorney

   Ollinger would be able to provide a copy of this Order to the Plaintiffs. In this unusual and

   unfortunate circumstance, the Court therefore ORDERS that counsel for Defendant shall cause a

   copy of this Order to be delivered to each named Plaintiff on or before April 22, 2019.

          Lastly, the Court has serious concerns about the performance of Attorney Ollinger in this

   case. Despite notifying the Court as early as November 20, 2018 that he no longer represented any

   Plaintiff, he has continued to file motions and pleadings with the Court, including requests to remove

   the individual Plaintiffs and replace them with the Estate via a personal representative. Attorney

   Ollinger was not able to provide an explanation for his behavior. Simply put, when an attorney no

   longer represents a party in litigation, the proper course of action is to file a notice of withdrawal,

   not to continue to litigate on behalf of an entity (the Estate) that is not a party to the case. While

   the Court appreciates counsel’s representations that he was acting from a good place and with no

   malintent towards Plaintiffs, his actions over the past five months fall far below the standard of

   conduct expected of attorneys who are members of the Middle District of Florida Bar. The Court

   further finds Attorney Ollinger’s explanations for not complying with the Court’s prior orders to be

   woefully inadequate. The Court has considered the panoply of sanctions available, and finds the

   admonition in this Order to be sufficient at this time. However, as stated during the status

   conference, Attorney Ollinger is warned that he is to understand and comply at all times with the




                                                    -4-
Case 6:18-cv-01597-RBD-LRH Document 51 Filed 04/16/19 Page 5 of 6 PageID 286




   Local Rules and orders of this Court. Attorney Ollinger should consider this Order a first, last, and

   only warning—any future failures to comply with any orders or local rules may subject him to more

   severe sanctions.

          Based on the foregoing, it is ORDERED that the oral motion for the withdrawal of Attorney

   Ollinger from this case is GRANTED, and Plaintiff’s Motion to Replace Above-Named Plaintiffs

   with Personal Representative (Doc. No. 48) is DENIED as moot. Counsel for Defendant shall

   cause a copy of this Order to be delivered to each named Plaintiff and file a notice of compliance

   with the Court detailing the manner in which such delivery was completed on or before April 22,

   2019. If counsel for Defendant is unable to accomplish delivery by this date, counsel should

   explain in its notice why delivery was not made.

          It is FURTHER ORDERED that, on or before April 29, 2019, each named Plaintiff—

   Nandalall Rameshwar, Arthur Hooks Humphrey, Consuela Renae Hooks, and Dorothy Lisa

   Humphrey—shall file a notice with the Court stating an address, telephone number, and email

   address (if he or she uses email) at which the Court and Defendant’s counsel may contact each

   individual Plaintiff.   The Clerk of Court is DIRECTED to immediately terminate Attorney

   Ollinger from this case once this Order is docketed and the Notice of Electronic Filing for this Order

   has been sent.

          DONE and ORDERED in Orlando, Florida on April 16, 2019.




   Copies furnished to:

   Counsel of Record


                                                    -5-
Case 6:18-cv-01597-RBD-LRH Document 51 Filed 04/16/19 Page 6 of 6 PageID 287




   Unrepresented Parties




                                        -6-
